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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

NATHANIEL CLARK,

        Plaintiff,
                                             CIVIL ACTION NO.
v.                                           1:22-cv-02748-CAP-RDC

CITY OF FOREST PARK, GA; and
LATRESA AKINS-WELLS,

        Defendants.

                                     ORDER

        This matter is before the Court sua sponte. This action was removed to this

Court on July 13, 2022. (See Docs. 1–7). Defendants have since moved to dismiss

Plaintiff’s Second Amended Complaint, and Plaintiff has responded in

opposition. (Docs. 8, 9, 12, 13). A review of the docket reveals that Plaintiff and

Defendant Latresa Akins-Wells have not filed the required Certificates of

Interested Persons (“CIP”) upon first appearance. See LR 3.3, NDGa.; see also

LR 83.1(D). The CIP enables the judges of this Court to evaluate possible

disqualification or recusal.
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     Accordingly, counsel for Plaintiff and counsel for Defendant Latresa

Akins-Wells are DIRECTED to file the required CIPs on or before

October 10, 2022.

     IT IS SO ORDERED on this 29th day of September 2022.



                                        REGINA D. CANNON
                                        United States Magistrate Judge




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